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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                      )
ANDREW J. BRIGIDA, et al.,            )
                                      )
                    Plaintiffs,       )
                                      )
              v.                      )    Civil Action No. 16-cv-2227 (DLF)
                                      )
ELAINE L. CHAO, Secretary, U.S.       )
Department of Transportation,         )
                                      )
                    Defendant.        )
____________________________________)

                                 [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion for Class Certification and Defendant’s

opposition, it is hereby:

       ORDERED that Plaintiffs’ motion is DENIED with prejudice.

       SO ORDERED.



DATED: _________________, 2021          _____________________________________
                                          UNITED STATES DISTRICT JUDGE
